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Fn.eo ev _,W__* D.c.

IN THE UNITED STATES DISTRICT coURT 05 Aus -3 AH ll= 29
FOR THE WESTERN DISTRICT oF TENNES SEE
WESTERN DIVISION "%*‘§“S,~,§§*T§Q§’-C%W
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UNITED STATES OF AMERICA,

Plaintiff, Case No.: 00-20101 D
v.
TERRANCE JERMAINE LEWIS,

Defendant.

 

ORDER

 

On the docket is Defendant Terrance Jerrnaine Lewis’s Motion to Alter Judgment (Docket
No. 154). Upon review of the record and the motion, it appears that cause does not exist for relief

Accordingly, the motion is DENIED.

IT IS SO ORDERED this Z£; day Of f 15 SM , 2005.

  
   

UNI ED STATES DISTRICT IUDGE

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Stephen C. Parker

U.S. ATTORNEY'S OFFICE
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Honorable Bernice Donald
US DISTRICT COURT

